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                             United States District Court
                            Southern District of New York


Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




 REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR PROTECTIVE ORDER AND
  TO DIRECT THE DEFENDANT TO DISCLOSE ALL INDIVIDUALS TO WHOM
  DEFENDANT HAS DISSIMINATED CONFIDENTIAL INFORMATION (DE 335)




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         Plaintiff Virginia Giuffre, by and through her undersigned counsel, hereby files this

Reply in Support of her Motion for Protective Order and Motion for the Court to Direct

Defendant to Disclose All Individuals to whom Defendant has Disseminated Confidential

Information (DE 335).

I.       INTRODUCTION

        “The nature of this case concerns highly personal and sensitive information from both
parties. In this action, both parties have sought and will seek confidential information in the
course of discovery from the other party and from non-party witnesses. Release of such
confidential information outside of the litigation could expose the parties to ‘annoyance,
embarrassment, [and] oppression and result in significant injury to one or more of the parties’
business or privacy interests.”

                                       - Defendant, Ghislaine Maxwell, March 2, 20161

         Less than six months after representing to this Court that this case involves “highly

personal and sensitive information” warranting a broad protective order, Defendant now wants to

publicize police reports concerning Ms. Giuffre - most of them from when she was a child, some

of them concerning her being raped when only 14 years. Defendant’s challenge to Ms. Giuffre’s

confidentiality designation is without merit, and it is for improper purposes. Therefore, it should


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be denied.

         Ms. Giuffre moved to maintain her confidentiality of highly sensitive documents. They

are police reports involving Ms. Giuffre, including two police reports describing Ms. Giuffre as a

fourteen-year-old victim of rape. Other police reports show her to be the victim of other crimes,

including domestic violence. Defendant should not be allowed to make these police reports

public, nor disseminate them to third parties. Defendant’s Response brief is devoid of any

argument to allow her to make these documents public, and completely devoid of any case law.




1
    DE 38 at 1.
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       Instead, Defendant mischaracterizes the police reports at issue. For example, in her

“Factual Background,” what Defendant characterizes as a “simulated sex act” for which Ms.

Giuffre “cried rape,” actually is a police report as follows:

       “I then had [REDACTED] get off of [REDACTED]. I observed that [REDACTED] was
       very intoxicated, and she was unable to stand on her legs. She was unable to crawl . .
       .Based on [REDACTED] intoxicated condition, a [sic] ambulance was called to transport
       her to [REDACTED] to check on her condition. I then met with [REDACTED] and his
       mother. I advised [REDACTED] of his Miranda rights . . . Upon arrival, at the E.R., I
       met with [REDACTED] who stated that while enroute to the E.R. she was conducting a
       head to toe evaluation when the patient stated that she had to urinate. [REDACTED] was
       assisting [REDACTED] remove her panties when she noticed grass and twig particles in
       the crotch area of [REDACTED] panties as well as a small amount of blood, an unknown
       clear substance, and a substance which appeared to be semen. She also saw abrasions on
       [REDACTED] buttocks. ”

See GM 00790-801.

        To be clear, Defendant will be able to use this report in these proceedings – if she can

prove it relevant and otherwise admissible. Indeed, under the protective order, she is permitted

to share it with witnesses. Thus, the confidentiality designation made by Ms. Giuffre merely

prevent Defendant from running to the press with these reports, which is, of course, what she


-
seeks to do.2

       As is in some of her other briefs, Defendant fails to cite a single case supporting her

position. Nor does she respond in any way to the case law advanced by Ms. Giuffre in the instant

motion. Instead, Defendant says that the police report documenting Ms. Giuffre’s rape while a

minor has her name redacted. Of course, such a redaction does Ms. Giuffre little good when

Defendant and her cohorts distribute it to the press - the identity of the victim in the police report

will presumably be supplied by Defendant. Indeed, Defendant and/or her joint defense partners

have already made it known to the media that this very police report concerns Ms. Giuffre, see

2
  This plan was admitted by her joint defense partner, Alan Dershowitz, in his baseless Motion to
Intervene (DE 362).
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Defendant’s brief at p. 5, which is why Ms. Giuffre’s counsel had to respond to the media

inquiry about it in the first place. A redacted name does nothing to protect Ms. Giuffre’s identity

when Defendant is the one leaking the report to the press.

       Since Ms. Giuffre filed her motion for a Protective Order, Defendant’s joint defense

partner, Alan Dershowitz, has also made distorted representations to the Court and asks, without

standing, for this Court to strip away designations made under its order so that he, too, can take

confidential litigation materials to the press.3 As the adverse testimonial evidence piles up

against Defendant,4 it appears she and Dershowitz are planning another media blitz in an attempt

to discredit and defame Ms. Giuffre.

       The Court is aware that a mountain of testimonial evidence, from multiple witnesses,

firmly establishes Defendant operated as convicted pedophile Jeffrey Epstein’s procurer of

underage girls. The Court is also aware that, as things stand today, all of this testimony is under

3
  Id. Ms. Giuffre will be filing an opposition to Dershowitz’s motion to intervene shortly.
4
  See McCawley Decl. at Composite Exhibit 1, Figueroa June 24, 2016 Dep. Tr. Vol. 1 at 96-97
and 103 (Figueroa testified that Plaintiff told him about threesomes with Defendant and Epstein
which included the use of strap-ons); and Vol. 2 at 200 (Figueroa testified that Defendant called
him inquiring if he had found any other girls for Epstein); Johanna Sjoberg’s May 18, 2016 Dep.
Tr. at 8-9, 13, 33-35, 142-143(testifying that Defendant recruited her for sex with Epstein under
the guise of answering phones, a job that lasted one day, because her second day Defendant
asked her to start giving massages, and it soon made it clear that Sjoberg’s purpose was to bring
Epstein to orgasm so Defendant didn’t have to all of the time); Rinaldo Rizzo’s June 10, 2016
Dep. Tr. at 52-60 (Defendant’s friend’s house manager, through tears, described how Defendant
tried to force a 15 year old Swedish girl to have sex with Epstein through threats and stealing her
passport); Juan Alessi’s June 1, 2016 Dep. Tr. at 28, 52-54 (Epstein’s house manager, testified
that Defendant was one of the people who procured the over 100 girls he witnessed visit Epstein,
and that he had to clean Defendant’s sex toys); Lynn Miller’s May 24, 2016 Dep. Tr. at 115
(testified that Defendant became Ms. Giuffre’s “new momma”); Detective Joseph Recarey’s
June 21, 2016 Dep. Tr. at 29-30 (the detective who led the investigation of Epstein, testified that
Defendant procured underage girls for Epstein); David Rodgers’ June 3, 2016 Dep. Tr. at 18, 34-
36; see also Exhibit 2 Excerpted Rodgers Dep. Ex. 1 at flight #s 1433-1434, 1444-1446, 1464-
1470, 1478-1480, 1490-1491, 1506, 1525-1526, 1528, 1570 and 1589 (Epstein’s pilot testified
that the passenger listed on his flight log bearing the initials – GM – was in fact Ghislaine
Maxwell and Rodgers was the pilot on at least 23 of the flights in which Defendant flew with
Plaintiff), etc.
                                                 3
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this Court’s Protective Order, and cannot be disclosed to the public. For instance, Ms. Sjoberg’s

testimony of how Defendant lured her from her school to have sex with Epstein under the guise

of answering phones cannot be given to the media5. Similarly, Mr. Rizzo’s testimony about how

Defendant took the passport of a 15-year-old Swedish girl and threatened her when she refused

to have sex with Epstein cannot be given to the media.6 Likewise Mr. Alessi’s testimony about

how Defendant brought girls over for Epstein is also under a confidentiality order.7 So too with

Mr. Figueroa’s testimony about how Defendant would call him to bring over underage girls and

how Defendant and Epstein would have threesomes with Ms. Giuffre.8 Defendant’s own

admission of how she and Epstein had threesomes with multiple different girls whose names she

can’t even remember9 also has been designated as confidential.10

       Ms. Giuffre has never sought to challenge Defendant’s sweeping confidentiality

designations, which Defendant has freely employed to hide the voluminous incriminating

evidence in this case. Defendant, on the other hand, appears to operating from different

premises. Knowing that the documentary and testimonial evidence in this case are fatal to all her

purported defenses, Defendant appears to be planning a preemptive and one-sided media strike to

try to discredit Ms. Giuffre.11 Indeed, a recent brief before this Court makes clear that Defendant




5
  Id.
6
  Id.
7
  Id.
8
  Id.
9
  See McCawley Dec. at Exhibit 3, Maxwell Dep. Tr. at 59:3-17 (July 22, 2016).
10
   Interestingly despite that admission, Defendant has the gall to publically call Ms. Giuffre, a
longtime-married, mother of three, a “sexually permissive woman.”
11
   Tellingly, nowhere in her brief does Defendant mention to the court why she wants to make
these documents public.
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is not acting alone in this effort, but is teaming up with Alan Dershowitz12 to ask this Court to

release additional documents (but, naturally, none of the condemning documents Defendant has

marked confidential).

           Part of Defendant’s frantic attempt to discredit Ms. Giuffre is to publicly reveal that she

was sexually assaulted as a 14 year old, yet announce to the world that she “cried rape,”13 and to

humiliate her family (including three minor children) by publicizing she was the victim of

domestic abuse in 2015. As the Court saw during its in camera review, Defendant and Mr. Gow

previously exchanged emails about how to leak information to the press to discredit Ms. Giuffre

by saying that she “cried rape” when she was 14 (GM_00577):


From:                           Ross Gow
Sent:                           Tuesday, February 24, 2015 3:36 AM
To:                             G Max; Ph ilip Ba rden
Subject:                        VR cried rape - prior case dismissed as pmsecutors found her 'not credible'



Ghislaine

Some helpful leakage ...


           Defendant has been liberal with her own confidentiality designations. In fact, Defendant

has even requested that significant parts of this Court’s Orders be treated as “confidential.” For

example, when this Court issued its June 20, 2016, Order directing Defendant to turn over

documents that she improperly claimed as “privileged,” Defendant redacted the public version of

the Order to erase all reference to her extensive communications with her boyfriend, convicted

pedophile Jeffrey Epstein. While seeking to publicize confidential information about Ms.

Giuffre, Defendant apparently does not want the world not know that she continues to maintain

12
   Defendant has even filed an Affidavit from Dershowitz’s attorney which states that there is a
common interest between them. Curiously, the name of Dershowitz’s attorney, as is the name of
Dershowitz himself, is redacted in the public version of these briefs. See (DE 387).
13
   As the Court saw during its in camera review, Defendant and Mr. Gow exchanged emails
about how to discredit her by saying that she “cried rape” when she was 14.
                                                         5
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her close relationship with Jeffrey Epstein and plotted with him to defame Ms. Giuffre.

Defendant has also chosen to designate as confidential the fact that she has a DUI conviction,14

so that her own criminal activity for which she has been convicted is not in the media.



II.      DISCUSSION

         Ms. Giuffre has not challenged any of Defendant’s self-serving confidentiality

designations - designations that do not protect legitimate interests (such as trademark or

copyright information) but rather conceal shameful aspects of Defendant’s life, including all the

testimony regarding the specifics on just how she recruited underage girls for sex with convicted

pedophile Jeffrey Epstein But now Defendant challenges Ms. Giuffre’s designation of a police

report involving rape as confidential. The Court should not countenance the one-sided attempt at

gamesmanship by Defendant (and Dershowitz), who use confidentiality designations as a shield

to block release of information about Epstein’s sex trafficking while attempting to strike down

Ms. Giuffre designations about such things as being sexually assaulted while a child.

         Given the extremity of the position she is staking out, it is unsurprising that Defendant’s


                                                                                             •
entire brief cites no case law, and presents no argument to refute Ms. Giuffre’s case law. The

material Defendant seeks to send to the press is exactly the type of information that Protective

Orders are meant to protect, and this Court should deem these documents as confidential.

         A.      The Court can Order that these Documents be Made Confidential Either
                 Under the Existing Protective Order or Independent of the Protective Order

         Ms. Giuffre explained in detail why her application to the Court is timely filed under the

Protective Order [DE 62], and will not burden the Court with a recitation of such details and

arguments. The simple fact remains that these materials should remain confidential, and


14
     See McCawley Dec. at Exhibit 4, Maxwell Dep. Tr. at 390:13-15 (April 22, 2016).
                                                  6
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Defendant cannot articulate one legitimate purpose for making them public. Accordingly, they

should remain confidential under the existing protective order.

        In addition, even if the Court were to find, for some reason, that the motion is untimely

under the Protective Order, or that these documents do not come within the ambit of the existing

protective Order, this Court still clearly has the inherent power to determine that these

documents are confidential and should be kept under seal. Rule 26(c) of the Federal Rules of

Civil Procedure permits a district court to “make any order which justice requires to protect a

party or person from annoyance, embarrassment, oppression, or undue burden or expense” upon

a showing of good cause. In her moving brief, Ms. Giuffre has established “good cause” for

these documents to remain and/or be deemed confidential by the Court. Therefore, the Court

should grant the instant motion independent of the language of the Protective Order (drafted by


-
Defendant).

        As this Court will remember, the Court twice allowed the parties to make suggested

redactions to the public versions of its Orders (see, e.g., DE 135). While the redactions were

agreed upon by the parties, they were solely at Defendant’s request. This is a case concerning sex

abuse of minors, brought by a minor victim of sex abuse. If any civil case cries out for protective

treatment, it is this one.

        As the Defendant explained to this Court back in March of 2016, the materials in this

case, and the materials at issue in the instant motion, are sensitive in nature, and therefore fall

squarely into the categories of material over which courts routinely grant protection. C.F.

Strategic Growth Intern., Inc. v. Remote MDX, Inc., 2007 WL 3341522, at *3 (S.D.N.Y., Nov. 9,

2007) (Sweet, J.) (“To the extent that RMDX is concerned about the sensitive nature of the




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redacted information, those concerns should be allayed by the September 13, 2007 Stipulated

Protective Order”).

       In this case, unlike Maxwell who has refused to produce documents, Ms. Giuffre has

produced a number of documents including turning over personal, embarrassing documents that

bear no relation to the claim at issue in this case. Indeed, Defendant has procured other

documents with the same issues, including those documenting her being raped as a 14 year old

and being beaten by her husband, the father of her three minor children. These are the types of

documents for which confidentiality treatment during pre-trial proceedings is appropriate.


       B.      Defendant’s Challenge of these Materials (and her Joint Defense Partner’s
               Challenge of Other Materials) Frustrate this Court’s Ability to Resolve the
               Claim at Issue, and is a Waste of Judicial Economy

       Defendant and her joint defense partner, Dershowitz, for no apparent reason than their

media smear campaign, are now tying-up this Court’s docket, asking the Court to engage in a

document-by-document determination of confidentiality of the discovery in this case. This is a

waste of judicial resources, as it in no way furthers the resolution of the claim before this court.

Cf. In re Terrorist Attacks on September 11, 2001, 454 F.Supp.2d 220, 223 (S.D.N.Y.2006)

(“document-by-document confidentiality determinations . . . would impose an enormous burden

upon the Court and severely hinder its progress toward resolution of pretrial matters”).

       Moreover, should Defendant and her joint defense partner prevail in these baseless

efforts, Ms. Giuffre would be forced to apply to the Court to lift the confidentiality designations

from parallel discovery materials in this case that refute what Defendant and her proxies say in

the media (materials that are present in abundance in this case). None of this motion practice aids

in the resolution of the claim before this Court, but would merely frustrate that resolution.

Accordingly, the Court should grant Ms. Giuffre’s motion.


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         C.     Details Concerning Ms. Giuffre’s Rape as a 14 Year Old Are Only in The
                Public Realm Because, Upon Information and Belief, Defendant and/or Her
                Joint Defense Partners Previously Fed Them to The Media

         Defendant incorporated into her Response brief the media inquiry about Ms. Giuffre’s

sexual assault and Sigrid McCawley’s response made on Ms. Giuffre’s behalf. This exchange

illustrates exactly why Ms. Giuffre’s motion should be granted. The Court has seen the email

from Ross Gow, Defendant’s public relations agent, informing her of the strategy of leaking the

information to the press for the purpose of discrediting Ms. Giuffre by falsely claiming that she

“cried rape” as a 14 year old.15 Unsurprisingly, the media was then tipped off to Defendant’s

false and twisted version of the events, to which Ms. McCawley made a response. The Court has

seen Defendant’s play book in action. Significantly, there is not a single word in Defendant’s

brief refuting the fact that she challenges this confidentiality designation for improper purposes.

III.     CONCLUSION

         Ms. Giuffre was a child victim of sexual abuse, which is undisputed. Upon Defendant’s

own motion, this Court entered a Protective Order in this matter. Ms. Giuffre has shown good

cause for confidentiality of the materials at issue. Therefore, the Court should hold that these

materials are confidential. This Court should also direct Defendant to disclose all the individuals

to whom she has already disseminated the material at issue, and direct the Defendant to recall

such material forthwith.

DATED: August 23, 2016.

                                              Respectfully Submitted,

                                              BOIES, SCHILLER & FLEXNER LLP

                                          By: /s/ Meredith Schultz
                                               Sigrid McCawley (Pro Hac Vice)

15
     See GM_00577, above.
                                                 9
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16
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 23, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served to all parties of record via transmission of the Electronic Court Filing

System generated by CM/ECF.

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                                                     /s/ Meredith Schultz
                                                         Meredith Schultz




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